
767 So.2d 1173 (2000)
Inquiry Concerning a Judge, Nos. 98-316 and 98-419, re Kenton H. HAYMANS.
No. SC96830.
Supreme Court of Florida.
September 14, 2000.
Honorable Miette K. Burnstein, Chair, and Thomas C. MacDonald, Jr., General *1174 Counsel, Florida Judicial Qualifications Commission, Tallahassee, Florida; and Steven A. Werber and John S. Mills of Foley &amp; Lardner, Jacksonville, Florida, Special Counsel to the Florida Judicial Qualifications Commission, for Petitioner.
Richard C. McFarlain of McFarlain, Wiley, Cassedy &amp; Jones, P.A., Tallahassee, Florida, for Respondent.
PER CURIAM.
We have for review the recommendation of the Judicial Qualifications Commission that Judge Kenton H. Haymans be publicly reprimanded. We have jurisdiction. Art. V, § 12, Fla. Const.
The Judicial Qualifications Commission ("JQC") on October 7, 1999, filed notice of formal proceedings against Judge Haymans alleging that he had engaged in a pattern of rudeness and disrespect toward lawyers, parties, witnesses, victims, and court personnel. See R. Fla. Jud. Qual. Comm'n R. 6; Fla.Code Jud. Conduct, Canons 1-3. The JQC documented specific examples of alleged misconduct. The judge filed an answer admitting the misconduct, apologizing, recusing himself from further work on the criminal bench, and promising not to seek reelection when his term ends in January 2001. He waived a formal hearing before the Hearing Panel of the JQC, and the Investigative Panel subsequently filed in this Court its findings and recommendation that Judge Haymans be publicly reprimanded. Judge Haymans stipulated to the recommendation. See Fla. Jud. Qual. Comm'n R. 6(j).
Based on the foregoing, we approve the findings and recommendation of the Investigative Panel of the JQC and, pursuant to the guidelines announced in In re Frank, 753 So.2d 1228 (Fla.2000), hereby order Judge Haymans to appear before this Court at 9 a.m. on Wednesday, November 8, 2000, to be publicly reprimanded for his misconduct.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
